The court incorporates by reference in this paragraph and adopts as the findings
and orders of this court the document set forth below. This document was signed
electronically on June 4, 2018, which may be different from its entry on the record.



IT IS SO ORDERED.                                    ENTERED UNDER ADMINISTRATIVE
                                                     ORDER NO. 02-10: TERESA D. UNDERWOOD,
                                                     CLERK OF COURT
                                                     BY: ____________________________
                                                         /s/ Michael Gaughan
Dated: June 4, 2018                                      Deputy Clerk


                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE                                       )                CASE NO. 17-17361
                                            )
RICHARD M. OSBORNE,                         )                CHAPTER 11
                                            )
                      DEBTOR                )                JUDGE ARTHUR I. HARRIS


             ORDER AUTHORIZING EXAMINATION OF LAKE COUNTY
             TITLE, LLC PURSUANT TO RULE 2004(a) OF THE FEDERAL
                      RULES OF BANKRUPTCY PROCEDURE

        This matter is before the Court on the Motion of Chicago Title Insurance Company

(“Chicago Title”) for an Order of this Court authorizing and directing the examination of Lake

County Title, LLC (“Lake County Title”) under Rule 2004 of the Federal Rules of Bankruptcy

Procedure (the “Motion”), and the averments in the Motion.

        IT APPEARING to the Court that it would be in the best interest of the within estate to

authorize counsel for Chicago Title to proceed with the examination of Lake County Title under

or by virtue of the authority granted in Rule 2004 of the Federal Rules of Bankruptcy Procedure.




17-17361-aih     Doc 164     FILED 06/04/18      ENTERED 06/04/18 08:13:50          Page 1 of 4
       IT IS THEREFORE ORDERED that Lake County Title is hereby ordered and directed to

produce the following documents and items pursuant to Rule 2004 of the Federal Rules of

Bankruptcy Procedure:

       (1) Information and/or documentation concerning transactions Lake County Title has

handled that have in any way involved the Debtor, Richard M. Osborne, since December 17, 2017.

       (2) Information and/or documentation concerning transactions Lake County Title has

handled that have in any way involved any entity in which the Debtor has an interest, including

but not necessarily limited to the entities listed in Debtor’s Bankruptcy Schedules and/or Amended

Bankruptcy Schedules since December 17, 2017.

       (3) Any and all information and/or documentation concerning any interest the Debtor,

Richard M. Osborne, has in Lake County Title.

       (4) Any information and/or documentation regarding money, compensation, profits,

proceeds, and/or remuneration paid to the Debtor, Richard M. Osborne, since December 17, 2017.

       (5) Information and/or documentation concerning any funds paid, remitted, and/or tendered

to any entity in which the Debtor, Richard M. Osborne, has an interest, including but not

necessarily limited to the entities listed in Debtor’s Bankruptcy Schedules and/or Amended

Bankruptcy Schedules, since December 17, 2017.

       IT IS FURTHER ORDERED that Lake County Title shall produce the above documents

and items on or before June 27, 2018, at the Office of Michael J. Sikora III, Sikora Law LLC, 737

Bolivar Road, Suite 270, Cleveland, Ohio 44115.

       IT IS FURTHER ORDERED that an Officer Lake County Title with knowledge of the

above matters shall appear for examination on July 6, 2018, at 10:00 a.m. EST, at the Office of

Michael J. Sikora III, Sikora Law LLC, 737 Bolivar Road, Suite 270, Cleveland, Ohio 44115.

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17-17361-aih     Doc 164     FILED 06/04/18         ENTERED 06/04/18 08:13:50        Page 2 of 4
                                            # # #

Order Submitted By:

/s/ Robert D. Barr
Robert D. Barr (#0067121)
KOEHLER FITZGERALD LLC
1111 Superior Avenue East, Suite 2500
Cleveland, Ohio 44114
Phone: (216) 744-2739
Fax: (216) 916-4369
Email: rbarr@koehler.law

Co-Counsel for Chicago Title Insurance Company


                                         Service List

To be served via the Court’s Electronic Case Filing System on these entities and individuals
who are listed on the Court’s Electronic Mail Notice List:

       Adam S. Baker, on behalf of Michael E. Osborne, Sr., at abakerlaw@sbcglobal.net

       Robert D. Barr, Attorney for Chicago Title Insurance Company, at rbarr@koehler.law

       Michael J. Sikora, III, Attorney for Chicago Title Insurance Company, at
       msikora@sikoralaw.com

       Michael S. Tucker, Attorney for Citizens Bank, N.A., at mtucker@ulmer.com

       Christopher J. Klym, Attorney for Ohio Department of Taxation, at bk@hhkwlaw.com

       Matthew H. Matheney, Attorney for First National Bank of Pennsylvania, at
       mmatheney@bdblaw.com

       Timothy P. Palmer, Attorney for The Huntington National Bank, at
       timothy.palmer@bipc.com

       John J. Rutter, Attorney for Mentor Lumber & Supply Co., at jrutter@ralaw.com

       Frederic P. Schwieg, Attorney for Richard M. Osborne, at fschwieg@schwieglaw.com



                                               3




17-17361-aih    Doc 164     FILED 06/04/18         ENTERED 06/04/18 08:13:50       Page 3 of 4
       Jeffrey C. Toole, Attorney for Zachary B. Burkons, at toole@buckleyking.com

       Maria D. Giannirakis ust06, United States Trustee, at maria.d.giannirakis@usdoj.gov

       Scott R. Belhorn ust35, United States Trustee, at Scott.R.Belhorn@usdoj.gov

       Gregory P. Amend, Attorney for First National Bank of Pennsylvania, at
       gamend@bdblaw.com

       Nathaniel R. Sinn, Attorney for First National Bank of Pennsylvania, at
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       Alison L. Archer, Attorney for Lakeland Community College, at
       alison.archer@ohioattorneygeneral.com

       David T. Brady, Attorney for Tax Ease Ohio, LLC, at DBrady@Sandhu-Law.com

       Andrew M. Tomko, Attorney for Tax Ease Ohio, LLC, at atomko@sandhu-law.com

AND, by regular U.S. mail, postage prepaid, to the following:

       Richard M. Osborne
       7265 Markell Road
       Waite Hill, Ohio 44094

       Lake County Title, LLC
       Attention: Thomas R. Flenner, President
       306 High Street
       Fairport Harbor, Ohio 44077




                                               4




17-17361-aih    Doc 164     FILED 06/04/18         ENTERED 06/04/18 08:13:50         Page 4 of 4
